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  H EALTH NEWS       DECEMBER 14, 2018 / 9:23 AM / 3 DAYS AGO




  Special Report: J&J knew for
  decades that asbestos lurked in its
  Baby Powder
  Lisa Girion                                                          38 MIN READ




  LOS ANGELES (Reuters) - Darlene Coker knew she was dying. She
  just wanted to know why.
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  Darlene Coker is shown on a kitchen table full of many personal
  pictures of her family life in California, U.S. August 15, 2018. Picture
  taken August 15, 2018. REUTERS/Mike Blake



  She knew that her cancer, mesothelioma, arose in the delicate
  membrane surrounding her lungs and other organs. She knew it was
  as rare as it was deadly, a signature of exposure to asbestos. And she
  knew it afflicted mostly men who inhaled asbestos dust in mines and
  industries such as shipbuilding that used the carcinogen before its
  risks were understood.

  Coker, 52 years old, had raised two daughters and was running a
  massage school in Lumberton, a small town in eastern Texas. How
  had she been exposed to asbestos? “She wanted answers,” her
  daughter Cady Evans said.

  Fighting for every breath and in crippling pain, Coker hired Herschel
  Hobson, a personal-injury lawyer. He homed in on a suspect: the
  Johnson’s Baby Powder that Coker had used on her infant children
  and sprinkled on herself all her life. Hobson knew that talc and
  asbestos often occurred together in the earth, and that mined talc
  could be contaminated with the carcinogen. Coker sued Johnson &
  Johnson, alleging that “poisonous talc” in the company’s beloved
  product was her killer.
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  J&J denied the claim. Baby Powder was asbestos-free, it said. As the
  case proceeded, J&J was able to avoid handing over talc test results
  and other internal company records Hobson had requested to make
  the case against Baby Powder.

  Coker had no choice but to drop her lawsuit, Hobson said. “When
  you are the plaintiff, you have the burden of proof,” he said. “We
  didn’t have it.”

  That was in 1999. Two decades later, the material Coker and her
  lawyer sought is emerging as J&J has been compelled to share
  thousands of pages of company memos, internal reports and other
  confidential documents with lawyers for some of the 11,700
  plaintiffs now claiming that the company’s talc caused their cancers
  — including thousands of women with ovarian cancer.

  A Reuters examination of many of those documents, as well as
  deposition and trial testimony, shows that from at least 1971 to the
  early 2000s, the company’s raw talc and finished powders sometimes
  tested positive for small amounts of asbestos, and that company
  executives, mine managers, scientists, doctors and lawyers fretted
  over the problem and how to address it while failing to disclose it to
  regulators or the public.

  The documents also depict successful efforts to influence U.S.
  regulators’ plans to limit asbestos in cosmetic talc products and
  scientific research on the health effects of talc.
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  A small portion of the documents have been produced at trial and
  cited in media reports. Many were shielded from public view by
  court orders that allowed J&J to turn over thousands of documents
  it designated as confidential. Much of their contents is reported here
  for the first time.



  “RATHER HIGH”

  The earliest mentions of tainted J&J talc that Reuters found come
  from 1957 and 1958 reports by a consulting lab. They describe
  contaminants in talc from J&J’s Italian supplier as fibrous and
  “acicular,” or needle-like, tremolite. That’s one of the six minerals
  that in their naturally occurring fibrous form are classified as
  asbestos.

  At various times from then into the early 2000s, reports by scientists
  at J&J, outside labs and J&J’s supplier yielded similar findings. The
  reports identify contaminants in talc and finished powder products
  as asbestos or describe them in terms typically applied to asbestos,
  such as “fiberform” and “rods.”

  In 1976, as the U.S. Food and Drug Administration (FDA) was
  weighing limits on asbestos in cosmetic talc products, J&J assured
  the regulator that no asbestos was “detected in any sample” of talc
  produced between December 1972 and October 1973. It didn’t tell
  the agency that at least three tests by three different labs from 1972
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  to 1975 had found asbestos in its talc – in one case at levels reported
  as “rather high.”

  Most internal J&J asbestos test reports Reuters reviewed do not find
  asbestos. However, while J&J’s testing methods improved over time,
  they have always had limitations that allow trace contaminants to go
  undetected – and only a tiny fraction of the company’s talc is tested.

  The World Health Organization and other authorities recognize no
  safe level of exposure to asbestos. While most people exposed never
  develop cancer, for some, even small amounts of asbestos are
  enough to trigger the disease years later. Just how small hasn’t been
  established. Many plaintiffs allege that the amounts they inhaled
  when they dusted themselves with tainted talcum powder were
  enough.

  The evidence of what J&J knew has surfaced after people who
  suspected that talc caused their cancers hired lawyers experienced in
  the decades-long deluge of litigation involving workers exposed to
  asbestos. Some of the lawyers knew from those earlier cases that talc
  producers tested for asbestos, and they began demanding J&J’s
  testing documentation.

  What J&J produced in response to those demands has allowed
  plaintiffs’ lawyers to refine their argument: The culprit wasn’t
  necessarily talc itself, but also asbestos in the talc. That assertion,
  backed by decades of solid science showing that asbestos causes
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  mesothelioma and is associated with ovarian and other cancers, has
  had mixed success in court.

  In two cases earlier this year – in New Jersey and California – juries
  awarded big sums to plaintiffs who, like Coker, blamed asbestos-
  tainted J&J talc products for their mesothelioma.

  A third verdict, in St. Louis, was a watershed, broadening J&J’s
  potential liability: The 22 plaintiffs were the first to succeed with a
  claim that asbestos-tainted Baby Powder and Shower to Shower talc,
  a longtime brand the company sold in 2012, caused ovarian cancer,
  which is much more common than mesothelioma. The jury awarded
  them $4.69 billion in damages. Most of the talc cases have been
  brought by women with ovarian cancer who say they regularly used
  J&J talc products as a perineal antiperspirant and deodorant.

  At the same time, at least three juries have rejected claims that Baby
  Powder was tainted with asbestos or caused plaintiffs’
  mesothelioma. Others have failed to reach verdicts, resulting in
  mistrials.



  “JUNK” SCIENCE

  J&J has said it will appeal the recent verdicts against it. It has
  maintained in public statements that its talc is safe, as shown for
  years by the best tests available, and that the information it has been
  required to divulge in recent litigation shows the care the company
  takes to ensure its products are asbestos-free. It has blamed its
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  losses on juror confusion, “junk” science, unfair court rules and
  overzealous lawyers looking for a fresh pool of asbestos plaintiffs.

  “Plaintiffs’ attorneys out for personal financial gain are distorting
  historical documents and intentionally creating confusion in the
  courtroom and in the media,” Ernie Knewitz, J&J’s vice president of
  global media relations, wrote in an emailed response to Reuters’
  findings. “This is all a calculated attempt to distract from the fact
  that thousands of independent tests prove our talc does not contain
  asbestos or cause cancer. Any suggestion that Johnson & Johnson
  knew or hid information about the safety of talc is false.”

  J&J declined to comment further for this article. For more than two
  months, it turned down repeated requests for an interview with J&J
  executives. On Dec. 8, the company offered to make an expert
  available. It had not done so as of Thursday evening.

  The company referred all inquiries to its outside litigation counsel,
  Peter Bicks. In emailed responses, Bicks rejected Reuters’ findings as
  “false and misleading.” “The scientific consensus is that the talc
  used in talc-based body powders does not cause cancer, regardless of
  what is in that talc,” Bicks wrote. “This is true even if - and it does
  not - Johnson & Johnson’s cosmetic talc had ever contained minute,
  undetectable amounts of asbestos.” He dismissed tests cited in this
  article as “outlier” results.

  In court, J&J lawyers have told jurors that company records showing
  that asbestos was detected in its talc referred to talc intended for
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  industrial use. Other records, they have argued, referred to non-
  asbestos forms of the same minerals that their experts say are
  harmless. J&J has also argued that some tests picked up
  “background” asbestos – stray fibers that could have contaminated
  samples after floating into a mill or lab from a vehicle clutch or
  fraying insulation.


  RELATED CO VERAGE




                  J&J kept a guiding hand on talc safety research




  The company has made some of the same arguments about lab tests
  conducted by experts hired by plaintiffs. One of those labs found
  asbestos in Shower to Shower talc from the 1990s, according to an
  Aug. 11, 2017, court report. Another lab found asbestos in more than
  half of multiple samples of Baby Powder from past decades – in
  bottles from plaintiffs’ cupboards and acquired from eBay, and even
  a 1978 bottle held in J&J’s corporate museum. The concentrations
  were great enough that users “would have, more likely than not,
  been exposed,” the plaintiffs’ lab report presented in several cases
  this year concluded.

  Matthew Sanchez, a geologist with consultants RJ Lee Group Inc
  and a frequent expert witness for J&J, dismissed those findings in
  testimony in the St. Louis trial: “I have not found asbestos in any of
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  the current or modern, what I consider modern, Johnson & Johnson
  talc products,” Sanchez told the jury.

  Sanchez did not return calls seeking comment. RJ Lee said it does
  not comment on the work it does for clients.

  Since 2003, talc in Baby Powder sold in the United States has come
  from China through supplier Imerys Talc America, a unit of Paris-
  based Imerys SA and a co-defendant in most of the talc litigation.
  Imerys and J&J said the Chinese talc is safe. An Imerys spokesman
  said the company’s tests “consistently show no asbestos. Talc’s safe
  use has been confirmed by multiple regulatory and scientific
  bodies.”

  J&J, based in New Brunswick, New Jersey, has dominated the talc
  powder market for more than 100 years, its sales outpacing those of
  all competitors combined, according to Euromonitor International
  data. And while talc products contributed just $420 million to J&J’s
  $76.5 billion in revenue last year, Baby Powder is considered an
  essential facet of the healthcare-products maker’s carefully tended
  image as a caring company – a “sacred cow,” as one 2003 internal
  email put it.

  “When people really understand what’s going on, I think it increases
  J&J’s exposure a thousand-fold,” said Mark Lanier, one of the
  lawyers for the women in the St. Louis case.
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  The mounting controversy surrounding J&J talc hasn’t shaken
  investors. The share price is up about 6 percent so far this year. Talc
  cases make up fewer than 10 percent of all personal injury lawsuits
  pending against J&J, based on the company’s Aug. 2 quarterly
  report, in which the company said it believed it had “strong grounds
  on appeal.”

  J&J Chairman and Chief Executive Officer Alex Gorsky has pledged
  to fight on, telling analysts in July: “We remain confident that our
  products do not contain asbestos.”

  Gorsky’s comment, echoed in countless J&J statements, misses a
  crucial point. Asbestos, like many environmental carcinogens, has a
  long latency period. Diagnosis usually comes years after initial
  exposure – 20 years or longer for mesothelioma. J&J talc products
  today may be safe, but the talc at issue in thousands of lawsuits was
  sold and used over the past 60 years.



  “SAFETY FIRST”

  In 1886, Robert Wood Johnson enlisted his younger brothers in an
  eponymous startup built around the “Safety First” motto. Johnson’s
  Baby Powder grew out of a line of medicated plasters, sticky rubber
  strips loaded with mustard and other home remedies. When
  customers complained of skin irritation, the brothers sent packets of
  talc.
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  Soon, mothers began applying the talc to infants’ diaper-chafed skin.
  The Johnsons took note. They added a fragrance that would become
  one of the most recognizable in the world, sifted the talc into tin
  boxes and, in 1893, began selling it as Johnson’s Baby Powder.

  In the late 1950s, J&J discovered that talc from its chief source mine
  for the U.S. market in the Italian Alps contained tremolite. That’s
  one of six minerals – along with chrysotile, actinolite, amosite,
  anthophyllite and crocidolite – that occur in nature as crystalline
  fibers known as asbestos, a recognized carcinogen. Some of them,
  including tremolite, also occur as unremarkable “non-asbestiform”
  rocks. Both forms often occur together and in talc deposits.

  J&J’s worry at the time was that contaminants made the company’s
  powder abrasive. It sent tons of its Italian talc to a private lab in
  Columbus, Ohio, to find ways to improve the appearance, feel and
  purity of the powder by removing as much “grit” as possible. In a
  pair of reports from 1957 and 1958, the lab said the talc contained
  “from less than 1 percent to about 3 percent of contaminants,”
  described as mostly fibrous and “acicular” tremolite.

  Most of the authors of these and other J&J records cited in this
  article are dead. Sanchez, the RJ Lee geologist whose firm has agreed
  to provide him as a witness in up to 100 J&J talc trials, has testified
  that tremolite found decades ago in the company’s talc, from Italy
  and later Vermont, was not tremolite asbestos at all. Rather, he has
  said, it was “cleavage fragments” from non-asbestiform tremolite.
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  J&J’s original records don’t always make that distinction. In terms of
  health risk, regulators since the early 1970s have treated small fiber-
  shaped particles of both forms the same.

  The U.S. Environmental Protection Agency, for example, “makes no
  distinction between fibers and (comparable) cleavage fragments,”
  agency officials wrote in a response to an RJ Lee report on an
  unrelated matter in 2006, the year before the firm hired Sanchez.
  The Occupational Safety and Health Administration (OSHA),
  though it dropped the non-fibrous forms of the minerals from its
  definition of asbestos in 1992, nonetheless recommends that fiber-
  shaped fragments indistinguishable from asbestos be counted in its
  exposure tests.

  And as the product safety director for J&J’s talc supplier
  acknowledged in a 2008 email to colleagues: “(I)f a deposit contains
  ‘non-asbestiform’ tremolite, there is also asbestiform tremolite
  naturally present as well.”



  “THE LUNGS OF BABIES”

  In 1964, J&J’s Windsor Minerals Inc subsidiary bought a cluster of
  talc mines in Vermont, with names like Argonaut, Rainbow,
  Frostbite and Black Bear. By 1966, it was blasting and bulldozing
  white rock out of the Green Mountain state. J&J used the milled
  powder in its cosmetic powders and sold a less-refined grade to
  roofing, flooring and tire companies for use in manufacturing.
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  Ten years after tremolite turned up in the Italian talc, it showed up
  in Vermont talc, too. In 1967, J&J found traces of tremolite and
  another mineral that can occur as asbestos, according to a table
  attached to a Nov. 1, 1967, memo by William Ashton, the executive
  in charge of J&J’s talc supply for decades.

  J&J continued to search for sources of clean talc. But in an April 9,
  1969, memo to a company doctor, Ashton said it was “normal” to
  find tremolite in many U.S. talc deposits. He suggested J&J rethink
  its approach. “Historically, in our Company, Tremolite has been
  bad,” Ashton wrote. “How bad is Tremolite medically, and how
  much of it can safely be in a talc base we might develop?”

  Since pulmonary disease, including cancer, appeared to be on the
  rise, “it would seem to be prudent to limit any possible content of
  Tremolite … to an absolute minimum,” came the reply from another
  physician executive days later.

  The doctor told Ashton that J&J was receiving safety questions from
  pediatricians. Even Robert Wood Johnson II, the founder’s son and
  then-retired CEO, had expressed “concern over the possibility of the
  adverse effects on the lungs of babies or mothers,” he wrote.

  “We have replied,” the doctor wrote, that “we would not regard the
  usage of our powders as presenting any hazard.” Such assurances
  would be impossible, he added, “if we do include Tremolite in more
  than unavoidable trace amounts.”
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  The memo is the earliest J&J document reviewed by Reuters that
  discusses tremolite as more than a scratchy nuisance. The doctor
  urged Ashton to consult with company lawyers because “it is not
  inconceivable that we could become involved in litigation.”



  NEVER “100% CLEAN”

  By the early 1970s, asbestos was widely recognized as the primary
  cause of mesothelioma among workers involved in producing it and
  in industries that used it in their products.

  Regulation was in the air. In 1972, President Richard Nixon’s newly
  created OSHA issued its first rule, setting limits on workplace
  exposure to asbestos dust.

  By then, a team at Mount Sinai Medical Center led by pre-eminent
  asbestos researcher Irving Selikoff had started looking at talcum
  powders as a possible solution to a puzzle: Why were tests of lung
  tissue taken post mortem from New Yorkers who never worked with
  asbestos finding signs of the mineral? Since talc deposits are often
  laced with asbestos, the scientists reasoned, perhaps talcum
  powders played a role.

  They shared their preliminary findings with New York City’s
  environmental protection chief, Jerome Kretchmer. On June 29,
  1971, Kretchmer informed the Nixon administration and called a
  press conference to announce that two unidentified brands of
  cosmetic talc appeared to contain asbestos.
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  The FDA opened an inquiry. J&J issued a statement: “Our fifty years
  of research knowledge in this area indicates that there is no asbestos
  contained in the powder manufactured by Johnson & Johnson.”

  Later that year, another Mount Sinai researcher, mineralogist Arthur
  Langer, told J&J in a letter that the team had found a “relatively
  small” amount of chrysotile asbestos in Baby Powder.

  Langer, Selikoff and Kretchmer ended up on a J&J list of
  “antagonistic personalities” in a Nov. 29, 1972, memo, which
  described Selikoff as the leader of an “attack on talc.”

  “I suppose I was antagonistic,” Langer told Reuters. Even so, in a
  subsequent test of J&J powders in 1976, he didn’t find asbestos – a
  result that Mount Sinai announced.

  Langer said he told J&J lawyers who visited him last year that he
  stood by all of his findings. J&J has not called him as a witness.

  Selikoff died in 1992. Kretchmer said he recently read that a jury had
  concluded that Baby Powder was contaminated with asbestos. “I
  said to myself, ‘How come it took so long?’ “ he said.

  In July 1971, meanwhile, J&J sent a delegation of scientists to
  Washington to talk to the FDA officials looking into asbestos in
  talcum powders. According to an FDA account of the meeting, J&J
  shared “evidence that their talc contains less than 1%, if any,
  asbestos.”
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  Later that month, Wilson Nashed, one of the J&J scientists who
  visited the FDA, said in a memo to the company’s public relations
  department that J&J’s talc contained trace amounts of “fibrous
  minerals (tremolite/actinolite).”



  “INCONTROVERTIBLE ASBESTOS”

  As the FDA continued to investigate asbestos in talc, J&J sent
  powder samples to be tested at private and university labs. Though a
  private lab in Chicago found trace amounts of tremolite, it declared
  the amount “insignificant” and the samples “substantially free of
  asbestiform material.” J&J reported that finding to the FDA under a
  cover letter that said the “results clearly show” the samples tested
  “contain no chrysotile asbestos.” J&J’s lawyer told Reuters the
  tremolite found in the samples was not asbestos.

  But J&J’s FDA submission left out University of Minnesota professor
  Thomas E. Hutchinson’s finding of chrysotile in a Shower to Shower
  sample – “incontrovertible asbestos,” as he described it in a lab note.

  The FDA’s own examinations found no asbestos in J&J powder
  samples in the 1f970s. Those tests, however, did not use the most
  sensitive detection methods. An early test, for example, was
  incapable of detecting chrysotile fibers, as an FDA official
  recognized in a J&J account of an Aug. 11, 1972, meeting with the
  agency: “I understand that some samples will be passed even though
  they contain such fibers, but we are willing to live with it.”
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  By 1973, Tom Shelley, director of J&J’s Central Research
  Laboratories in New Jersey, was looking into acquiring patents on a
  process that a British mineralogist and J&J consultant was
  developing to separate talc from tremolite.

  “It is quite possible that eventually tremolite will be prohibited in all
  talc,” Shelley wrote on Feb. 20, 1973, to a British colleague.
  Therefore, he added, the “process may well be valuable property to
  us.”

  At the end of March, Shelley recognized the sensitivity of the plan in
  a memo sent to a J&J lawyer in New Jersey: “We will want to
  carefully consider the … patents re asbestos in talc. It’s quite
  possible that we may wish to keep the whole thing confidential
  rather than allow it to be published in patent form and thus let the
  whole world know.”

  J&J did not obtain the patents.

  While Shelley was looking into the patents, J&J research director
  DeWitt Petterson visited the company’s Vermont mining operation.
  “Occasionally, sub-trace quantities of tremolite or actinolite are
  identifiable,” he wrote in an April 1973 report on the visit. “And
  these might be classified as asbestos fiber.”

  J&J should “protect our powder franchise” by eliminating as many
  tiny fibers that can be inhaled in airborn talc dust as possible,
  Petterson wrote. He warned, however, that “no final product will
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  ever be made which will be totally free from respirable particles.”
  Introducing a cornstarch version of Baby Powder, he noted, “is
  obviously another answer.”

  Bicks told Reuters that J&J believes that the tremolite and actinolite
  Petterson cited were not asbestos.

  Cornstarch came up again in a March 5, 1974, report in which
  Ashton, the J&J talc supply chief, recommended that the company
  research that alternative “for defensive reasons” because “the thrust
  against talc has centered primarily on biological problems alleged to
  result from the inhalation of talc and related mineral particles.”



  “WE MAY HAVE PROBLEMS”

  A few months after Petterson’s recognition that talc purity was a
  pipe dream, the FDA proposed a rule that talc used in drugs contain
  no more than 0.1 percent asbestos. While the agency’s cosmetics
  division was considering similar action on talcum powders, it asked
  companies to suggest testing methods.

  At the time, J&J’s Baby Powder franchise was consuming 20,000
  tons of Vermont talc a year. J&J pressed the FDA to approve an
  X-ray scanning technique that a company scientist said in an April
  1973 memo allowed for “an automatic 1% tolerance for asbestos.”
  That would mean talc with up to 10 times the FDA’s proposed limit
  for asbestos in drugs could pass muster.
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  The same scientist confided in an Oct. 23, 1973, note to a colleague
  that, depending on what test the FDA adopted for detecting asbestos
  in cosmetic talc, “we may have problems.”

  The best way to detect asbestos in talc was to concentrate the
  sample and then examine it through microscopes, the Colorado
  School of Mines Research Institute told J&J in a Dec. 27, 1973,
  report. In a memo, a J&J lab supervisor said the concentration
  technique, which the company’s own researchers had earlier used to
  identify a “tremolite-type” asbestos in Vermont talc, had one
  limitation: “It may be too sensitive.”

  In his email to Reuters, J&J’s lawyer said the lab supervisor’s
  concern was that the test would result in “false positives,” showing
  asbestos where there was none.

  J&J also launched research to find out how much powder a baby was
  exposed to during a diapering and how much asbestos could be in
  that powder and remain within OSHA’s new workplace exposure
  limits. Its researchers had strapped an air sampling device to a doll
  to take measurements while it was powdered, according to J&J
  memos and the minutes of a Feb. 19, 1974, meeting of the Cosmetic
  Toiletry and Fragrance Association (CTFA), an industry group.

  “It was calculated that even if talc were pure asbestos the levels of
  exposure of a baby during a normal powdering are far below the
  accepted tolerance limits,” the minutes state.
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  In a Sept. 6, 1974, letter, J&J told the FDA that since “a substantial
  safety factor can be expected” with talc that contains 1 percent
  asbestos, “methods capable of determining less than 1% asbestos in
  talc are not necessary to assure the safety of cosmetic talc.”

  Not everyone at the FDA thought that basing a detection method on
  such a calculation was a good idea. One official called it “foolish,”
  adding, according to a J&J account of a February 1975 meeting: “No
  mother was going to powder her baby with 1% of a known
  carcinogen irregardless of the large safety factor.”

  PUSH FOR SELF-REGULATION

  Having failed to persuade the FDA that up to 1 percent asbestos
  contamination was tolerable, J&J began promoting self-policing as
  an alternative to regulation. The centerpiece of this approach was a
  March 15, 1976, package of letters from J&J and other
  manufacturers that the CTFA gave to the agency to show that they
  had succeeded at eliminating asbestos from cosmetic talc.

  “The attached letters demonstrate responsibility of industry in
  monitoring its talcs,” the cover letter said. “We are certain that the
  summary will give you assurance as to the freedom from
  contamination by asbestos for materials of cosmetic talc products.”

  In its letter, J&J said samples of talc produced between December
  1972 and October 1973 were tested for asbestos, and none was
  detected “in any sample.”
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  J&J didn’t tell the FDA about a 1974 test by a professor at
  Dartmouth College in New Hampshire that turned up asbestos in
  talc from J&J – “fiberform” actinolite, as he put it. Nor did the
  company tell the FDA about a 1975 report from its longtime lab that
  found particles identified as “asbestos fibers” in five of 17 samples of
  talc from the chief source mine for Baby Powder. “Some of them
  seem rather high,” the private lab wrote in its cover letter.

  Bicks, the J&J lawyer, said the contract lab’s results were irrelevant
  because the talc was intended for industrial use. He said the
  company now believes that the actinolite the Dartmouth professor
  found “was not asbestiform,” based on its interpretation of a photo
  in the original lab report.

  Just two months after the Dartmouth professor reported his
  findings, Windsor Minerals Research and Development Manager
  Vernon Zeitz wrote that chrysotile, “fibrous anthophyllite” and
  other types of asbestos had been “found in association with the
  Hammondsville ore body” – the Vermont deposit that supplied Baby
  Powder talc for more than two decades.

  Zeitz’s May 1974 report on efforts to minimize asbestos in Vermont
  talc “strongly urged” the adoption of ways to protect “against what
  are currently considered to be materials presenting a severe health
  hazard and are potentially present in all talc ores in use at this time.”

  Bicks said that Zeitz was not reporting on actual test results.
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  The following year, Zeitz reported that based on weekly tests of talc
  samples over six months, “it can be stated with a greater than 99.9%
  certainty that the ores and materials produced from the ores at all
  Windsor Mineral locations are free from asbestos or asbestiform
  minerals.”



  “MISREPRESENTATION BY OMISSION”

  J&J’s selective use of test results figured in a New Jersey judge’s
  decision this year to affirm the first verdict against the company in a
  case claiming asbestos in J&J products caused cancer. “Providing the
  FDA favorable results showing no asbestos and withholding or
  failing to provide unfavorable results, which show asbestos, is a form
  of a misrepresentation by omission,” Middlesex County Superior
  Court Judge Ana Viscomi said in her June ruling.

  “J&J respectfully disagrees with the Judge’s comments,” Bicks said.
  “J&J did not withhold any relevant testing from FDA.”

  The FDA declined to comment on the ruling.

  Lacking consensus on testing methods, the FDA postponed action to
  limit asbestos in talc. Years later, it did set limits on asbestos in talc
  used in drugs. It has never limited asbestos in cosmetic talc or
  established a preferred method for detecting it.

  Instead, in 1976, a CTFA committee chaired by a J&J executive
  drafted voluntary guidelines, establishing a form of X-ray scanning
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  with a 0.5 percent detection limit as the primary test, the method
  J&J preferred. The method is not designed to detect the most
  commonly used type of asbestos, chrysotile, at all. The group said
  the more sensitive electron microscopy was impractical.

  The CTFA, which now does business as the Personal Care Products
  Council, declined to comment.

  X-ray scanning is the primary method J&J has used for decades. The
  company also periodically requires the more sensitive checks with
  electron microscopes. J&J’s lawyer said the company’s tests exceed
  the trade association standard, and they do. He also said that today,
  J&J’s X-ray scans can detect suspect minerals at levels as low as 0.1
  percent of a sample.

  But the company never adopted the Colorado lab’s 1973
  recommendation that samples be concentrated before examination
  under a microscope. And the talc samples that were subjected to the
  most sensitive electron microscopy test were a tiny fraction of what
  was sold. For those and other reasons, J&J couldn’t guarantee its
  Baby Powder was asbestos-free when plaintiffs used it, according to
  experts, including some who testified for plaintiffs.

  As early as 1976, Ashton, J&J’s longtime talc overseer, recognized as
  much in a memo to colleagues. He wrote that talc in general, if
  subjected to the most sensitive testing method, using concentrated
  samples, “will be hard pressed in supporting purity claims.” He
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  described this sort of testing as both “sophisticated” and
  “disturbing.”



  “FREE OF HAZARD”

  By 1977, J&J appeared to have tamped down concerns about the
  safety of talc. An internal August report on J&J’s “Defense of Talc
  Safety” campaign noted that independent authorities had deemed
  cosmetic talc products to be “free of hazard.” It attributed “this
  growing opinion” to the dissemination to scientific and medical
  communities in the United States and Britain of “favorable data
  from the various J&J sponsored studies.”

                                         In 1984, FDA cosmetics chief and
                                         former J&J employee Heinz
                                         Eiermann reiterated that view. He
                                         told the New York Times that the
                                         agency’s investigation a decade
                                         earlier had prompted the industry to
  Slideshow (18 Images)
                                         ensure that talc was asbestos-free.
                                         “So in subsequent analyses,” he told
  the paper, “we really could not identify asbestos or only on very rare
  occasions.”

  Two years later, the FDA rejected a citizen request that cosmetic talc
  carry an asbestos warning label, saying that even if there were trace
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  contamination, the use of talc powder during two years of normal
  diapering would not increase the risk of cancer.

  In 1980, J&J began offering a cornstarch version of Baby Powder – to
  expand its customer base to people who prefer cornstarch, the
  company says.

  The persistence of the industry’s view that cosmetic talc is asbestos-
  free is why no studies have been conducted on the incidence of
  mesothelioma among users of the products. It’s also partly why
  regulations that protect people in mines, mills, factories and schools
  from asbestos-laden talc don’t apply to babies and others exposed to
  cosmetic talc – even though Baby Powder talc has at times come
  from the same mines as talc sold for industrial use. J&J says
  cosmetic talc is more thoroughly processed and thus purer than
  industrial talc.

  Until recently, the American Cancer Society (ACS) accepted the
  industry’s position, saying on its website: “All talcum products used
  in homes have been asbestos-free since the 1970s.”

  After receiving inquiries from Reuters, the ACS in early December
  revised its website to remove the assurance that cosmetic talcs are
  free of asbestos. Now, it says, quoting the industry’s standards, that
  all cosmetic talc products in the United States “should be free from
  detectable amounts of asbestos.”
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  The revised ACS web page also notes that the World Health
  Organization’s International Agency for Research on Cancer
  classifies talc that contains asbestos as “carcinogenic to humans.”

  Despite the success of J&J’s efforts to promote the safety of its talc,
  the company’s test lab found asbestos fibers in samples taken from
  the Vermont operation in 1984, 1985 and 1986. Bicks said: “The
  samples that we know of during this time period that contained a
  fiber or two of asbestos were not cosmetic talc samples.”

  Then, in 1992, three years after J&J sold its Vermont mines, the new
  owner, Cyprus Minerals, said in an internal report on “important
  environmental issues” in its talc reserves that there was “past
  tremolite” in the Hammondsville deposit. Hammondsville was the
  primary source of Baby Powder talc from 1966 until its shutdown in
  1990.

  Bicks rejected the Cyprus report as hearsay, saying there is no
  original documentation to confirm it. Hammondsville mine records,
  according to a 1993 J&J memo, “were destroyed by the mine
  management staff just prior to the J&J divestiture.”

  Bicks said the destroyed documents did not include talc testing
  records.

  In 2002 and 2003, Vermont mine operators found chrysotile
  asbestos fibers on several occasions in talc produced for Baby
  Powder sold in Canada. In each case, a single fiber was recorded – a
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  finding deemed “BDL” – below detection limit. Bicks described the
  finding as “background asbestos” that did not come from any talc
  source.

  In 2009, the FDA, responding to growing public concern about talc,
  commissioned tests on 34 samples, including a bottle of J&J Baby
  Powder and samples of Imerys talc from China. No asbestos was
  detected.

  FDA Commissioner Scott Gottlieb said the agency continues to
  receive a lot of questions about talc cosmetics. “I recognize the
  concern,” he told Reuters. He said the agency’s policing of cosmetics
  in general – fewer than 30 people regulating a “vast” industry – was
  “a place where we think we can be doing more.”

  Gottlieb said the FDA planned to host a public forum in early 2019
  to “look at how we would develop standards for evaluating any
  potential risk.” An agency spokeswoman said that would include
  examining “scientific test methods for assessment of asbestos.”



  “FISHING EXPEDITION”

  Before law school, Herschel Hobson worked at a rubber plant.
  There, his job included ensuring that asbestos in talc the workers
  were exposed to didn’t exceed OSHA limits.

  That’s why he zeroed in on Johnson’s Baby Powder after he took on
  Darlene Coker as a client in 1997. The lawsuit Coker and her
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  husband, Roy, filed that year against J&J in Jefferson County District
  Court in Beaumont, Texas, is the earliest Reuters found alleging
  Baby Powder caused cancer.

  Hobson asked J&J for any research it had into the health of its mine
  workers; talc production records from the mid-1940s through the
  1980s; depositions from managers of three labs that tested talc for
  J&J; and any documents related to testing for fibrous or asbestiform
  materials.

  J&J objected. Hobson’s “fishing expedition” would not turn up any
  relevant evidence, it asserted in a May 6, 1998, motion. In fact,
  among the thousands of documents Hobson’s request could have
  turned up was a letter J&J lawyers had received only weeks earlier
  from a Rutgers University geologist confirming that she had found
  asbestos in the company’s Baby Powder, identified in her 1991
  published study as tremolite “asbestos” needles.

  Hobson agreed to postpone his discovery demands until he got the
  pathology report on Coker’s lung tissue. Before it came in, J&J asked
  the judge to dismiss the case, arguing that Coker had “no evidence”
  Baby Powder caused mesothelioma.

  Ten days later, the pathology report landed: Coker’s lung tissue
  contained tens of thousands of “long fibers” of four different types
  of asbestos. The findings were “consistent with exposure to talc
  containing chrysotile and tremolite contamination,” the report
  concluded.
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  “The asbestos fibers found raise a new issue of fact,” Hobson told
  the judge in a request for more time to file an opposition to J&J’s
  dismissal motion. The judge gave him more time but turned down
  his request to resume discovery.

  Without evidence from J&J and no hope of ever getting any, Hobson
  advised Coker to drop the suit.

  Hobson is still practicing law in Nederland, Texas. When Reuters
  told him about the evidence that had emerged in recent litigation, he
  said: “They knew what the problems were, and they hid it.” J&J’s
  records would have made a “100% difference” in Coker’s case.

  Had the information about asbestos in J&J’s talc come out earlier, he
  said, “maybe there would have been 20 years less exposure” for
  other people.

  Bicks, the J&J lawyer, said Coker dropped her case because “the
  discovery established that J&J talc had nothing to do with Plaintiff’s
  disease, and that asbestos exposure from a commercial or
  occupational setting was the likely cause.”

  Coker never learned why she had mesothelioma. She did beat the
  odds, though. Most patients die within a year of diagnosis. Coker
  held on long enough to see her two grandchildren. She died in 2009,
  12 years after her diagnosis, at age 63.
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  Coker’s daughter Crystal Deckard was 5 when her sister, Cady, was
  born in 1971. Deckard remembers seeing the white bottle of
  Johnson’s Baby Powder on the changing table where her mother
  diapered her new sister.

  “When Mom was given this death sentence, she was the same age as
  I am right now,” Deckard said. “I have it in the back of my mind all
  the time. Could it happen to us? Me? My sister?”

  (This story has been refiled to specify in paragraph 29 the Imerys SA
  unit that is co-defendant with J&J in talc litigation.)

  Edited by Janet Roberts and John Blanton
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